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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


DONNA ESPOSITO, Individually and on        Case No.
Behalf of All Others Similarly Situated,

               Plaintiff,
                                           CLASS ACTION COMPLAINT FOR
       v.                                  VIOLATIONS OF THE FEDERAL
                                           SECURITIES LAWS
BLOCK, INC., JACK DORSEY, and
AMRITA AHUJA,

               Defendant.
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       Plaintiff Donna Esposito (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, her counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Block, Inc.

(“Block” or the “Company”) with the United States (“U.S.”) Securities and Exchange Commission

(“SEC”); (b) review and analysis of press releases and media reports issued by and disseminated

by Block; and (c) review of other publicly available information concerning Block.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Block securities between November 4, 2021 and April 4, 2022, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.      Block, formerly known as Square Inc., is a technology company that creates

financial service tools. Its segments include Square, which offers financial tools for sellers, and

Cash App, which provides financial tools for individuals.

       3.      On April 4, 2022, Block announced that a former employee had improperly

downloaded certain reports of the Company’s subsidiary, Cash App Investing, on December 10,

2021. The information in the reports included full customer names and brokerage account

numbers, as well as brokerage portfolio value, brokerage portfolio holdings and/or stock trading

activity. As many as 8.2 million Cash App Investing customers were affected. Prior to April 4,

2022, the company had not disclosed this information to shareholders.

       4.      On this news, the Company’s stock fell $9.27, or 6.4%, to close at $135.92 per

share on April 5, 2022, thereby injuring investors.


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        5.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that the

Company lacked adequate protocols restricting access to customer sensitive information; (2) that,

as a result, a former employee was able to download certain reports of the Company’s subsidiary,

Cash App Investing, containing full customer names and brokerage account numbers, as well as

brokerage portfolio value, brokerage portfolio holdings and/or stock trading activity; (3) that, as a

result, the Company was reasonably likely to suffer significant damage, including reputational

harm; (4) and that, as a result of the foregoing, Defendant’s positive statements about the

Company’s business, operations, and prospects were materially misleading and/or lacked a

reasonable basis.

                                   JURISDICTION AND VENUE

        6.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        7.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        8.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        9.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

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United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                            PARTIES

       10.     Plaintiff Donna Esposito, as set forth in the accompanying certification,

incorporated by reference herein, purchased Block securities during the Class Period, and suffered

damages as a result of the federal securities law violations and false and/or misleading statements

and/or material omissions alleged herein.

       11.     Defendant Block is incorporated under the laws of Delaware. The Company “do[es]

not designate a headquarters location as [it has] adopted a distributed work model.” Block’s Class

A common stock trades on the New York Stock Exchange (“NYSE”) under the symbol “SQ.”

       12.     Defendant Jack Dorsey (“Dorsey”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

       13.     Defendant Amrita Ahuja (“Ahuja”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

       14.     Defendants Dorsey and Ahuja (collectively the “Individual Defendants”), because

of their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money

and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material non-

public information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public, and that the




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positive representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                                 SUBSTANTIVE ALLEGATIONS

                                             Background

          15.    Block, formerly known as Square Inc., is a technology company that creates

financial service tools. Its segments include Square, which offers financial tools for sellers, and

Cash App, which provides financial tools for individuals.

                                  Materially False and Misleading

                             Statements Issued During the Class Period

          16.    The Class Period begins on November 4, 2021.1 On that day, Block filed its Form

10-Q with the SEC for the period ended September 30, 2021. It noted, as one of the operational

risks: “real or perceived security breaches or incidents or human error in administering our

software, hardware, and systems.” It also stated, in relevant part:

          Our products and services may not function as intended due to errors in our
          software, hardware, and systems, product defects, or due to security breaches or
          incidents or human error in administering these systems, which could materially
          and adversely affect our business.

          Our software, hardware, systems, and processes may contain undetected errors or
          vulnerabilities that could have a material adverse effect on our business,
          particularly to the extent such errors or vulnerabilities are not detected and
          remedied quickly. . . . As our hardware and software services continue to increase
          in size and complexity, and as we integrate new, acquired subsidiaries with
          different technology stacks and practices, these risks may correspondingly increase
          as well.

          In addition, we provide frequent incremental releases of product and service
          updates and functional enhancements, which increase the possibility of errors. The
          products and services we provide are designed to process complex transactions and
          deliver reports and other information related to those transactions, all at high
          volumes and processing speeds. Any errors, data leaks, security breaches or

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    Unless otherwise stated, all emphasis in bold and italics hereinafter is added.



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       incidents, disruptions in services, or other performance problems with our
       products or services caused by external or internal actors could hurt our
       reputation and damage our customers’ businesses. Software and system errors, or
       human error, could delay or inhibit settlement of payments, result in oversettlement,
       cause reporting errors, or prevent us from collecting transaction-based fees, or
       negatively impact our ability to serve our customers, all of which have occurred in
       the past. Similarly, security breaches or incidents such as cyber-attacks or identity
       theft could disrupt the proper functioning of our software products or services,
       cause errors, allow loss or unavailability of, unauthorized access to, or disclosure
       of, proprietary, confidential or otherwise sensitive information of ours or our
       customers, and other destructive outcomes. Moreover, security breaches or
       incidents or errors in our hardware or software design or manufacture could cause
       product safety issues typical of consumer electronics devices. Any of the foregoing
       issues could lead to product recalls and inventory shortages, result in costly and
       time-consuming efforts to redesign and redistribute our products, give rise to
       regulatory inquiries and investigations, and result in lawsuits and other liabilities
       and losses, which could have a material and adverse effect on our business.

       Additionally, electronic payment, hardware, and software products and services,
       including ours, have been, and could continue to be in the future, specifically
       targeted and penetrated or disrupted by hackers and other malicious actors. Because
       the techniques used to obtain unauthorized access to data, products, and services
       and to disable, degrade, or sabotage them change frequently and may be difficult
       to detect or remediate for long periods of time, we and our customers may be
       unable to anticipate these techniques or implement adequate preventative
       measures to stop them. If we or our sellers or other customers are unable to
       anticipate or prevent these attacks, our sellers' or other customers may be harmed,
       our reputation could be damaged, and we could incur significant liability.

(First emphasis in original.)

       17.     On February 24, 2022, Block published a shareholder letter. In that letter, it detailed

highlights from the fourth quarter of 2021 but made no mention of the fact that on December 10,

2021, a former employee downloaded reports containing sensitive customer information, from

Block’s subsidiary, Cash App Investing.

       18.     The above statements identified in ¶¶ 16-17 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that the Company

lacked adequate protocols restricting access to customer sensitive information; (2) that, as a result,



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a former employee was able to download certain reports of the Company’s subsidiary, Cash App

Investing, containing full customer names and brokerage account numbers, as well as brokerage

portfolio value, brokerage portfolio holdings and/or stock trading activity; (3) that, as a result, the

Company was reasonably likely to suffer significant damage, including reputational harm; (4) and

that, as a result of the foregoing, Defendant’s positive statements about the Company’s business,

operations, and prospects were materially misleading and/or lacked a reasonable basis.

                           Disclosures at the End of the Class Period

       19.     On April 4, 2022, Block announced that a former employee had improperly

downloaded certain reports of the Company’s subsidiary, Cash App Investing, on December 10,

2021. The information in the reports included full customer names and brokerage account

numbers, as well as brokerage portfolio value, brokerage portfolio holdings and/or stock trading

activity. As many as 8.2 million Cash App Investing customers were affected. Specifically, the

Company’s Form 8-K filed with the SEC stated, in relevant part:

       On April 4, 2022, Block, Inc. (the “Company”) announced that it recently
       determined that a former employee downloaded certain reports of its subsidiary
       Cash App Investing LLC (“Cash App Investing”) on December 10, 2021 that
       contained some U.S. customer information. While this employee had regular access
       to these reports as part of their past job responsibilities, in this instance these reports
       were accessed without permission after their employment ended.

       The information in the reports included full name and brokerage account number
       (this is the unique identification number associated with a customer’s stock activity
       on Cash App Investing), and for some customers also included brokerage portfolio
       value, brokerage portfolio holdings and/or stock trading activity for one trading
       day.

       The reports did not include usernames or passwords, Social Security numbers, date
       of birth, payment card information, addresses, bank account information, or any
       other personally identifiable information. They also did not include any security
       code, access code, or password used to access Cash App accounts. Other Cash App
       products and features (other than stock activity) and customers outside of the
       United States were not impacted.




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       Upon discovery, the Company and its outside counsel launched an investigation
       with the help of a leading forensics firm. Cash App Investing is contacting
       approximately 8.2 million current and former customers to provide them with
       information about this incident and sharing resources with them to answer their
       questions. The Company is also notifying the applicable regulatory authorities and
       has notified law enforcement.

       The Company takes the security of information belonging to its customers very
       seriously and continues to review and strengthen administrative and technical
       safeguards to protect the information of its customers. Future costs associated with
       this incident are difficult to predict. Although the Company has not yet completed
       its investigation of the incident, based on its preliminary assessment and on the
       information currently known, the Company does not currently believe the incident
       will have a material impact on its business, operations, or financial results.

       20.     On this news, the Company’s share price fell $9.27, or 6.4%, to close at $135.92

per share on April 5, 2022, thereby injuring investors.

       21.     On August 23, 2022, a class action was filed alleging that Block “fail[ed] to

exercise reasonable care in securing and safeguarding consumer information,” resulting in the data

breach and causing harm to Cash App users. See Salinas v. Block, Inc., et al., Case No. 4:22-cv-

04823 (N.D. Cal.), Dkt. No. 1. It also alleges that Block’s notice to data breach victims was “not

just untimely but woefully deficient, failing to provide basic details, including but not limited to,

how the unauthorized former employee was able to access its networks, whether the Private

Information accessed was encrypted or otherwise protected, or how it learned of the Data Breach.”

Id.

                               CLASS ACTION ALLEGATIONS

       22.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Block securities between November 4, 2021 and April 4, 2022, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families



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and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

       23.        The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Block’s shares actively traded on the NYSE. While

the exact number of Class members is unknown to Plaintiff at this time and can only be ascertained

through appropriate discovery, Plaintiff believes that there are at least hundreds or thousands of

members in the proposed Class. Millions of Block shares were traded publicly during the Class

Period on the NYSE. Record owners and other members of the Class may be identified from

records maintained by Block or its transfer agent and may be notified of the pendency of this action

by mail, using the form of notice similar to that customarily used in securities class actions.

       24.        Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       25.        Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       26.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Block; and




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                (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

        27.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                               UNDISCLOSED ADVERSE FACTS

        28.     The market for Block’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Block’s securities traded at artificially inflated prices during the Class Period. Plaintiff

and other members of the Class purchased or otherwise acquired Block’s securities relying upon

the integrity of the market price of the Company’s securities and market information relating to

Block, and have been damaged thereby.

        29.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Block’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Block’s business, operations, and prospects as alleged herein.

        30.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

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statements about Block’s financial well-being and prospects. These material misstatements and/or

omissions had the cause and effect of creating in the market an unrealistically positive assessment

of the Company and its financial well-being and prospects, thus causing the Company’s securities

to be overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the Class

purchasing the Company’s securities at artificially inflated prices, thus causing the damages

complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       31.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       32.     During the Class Period, Plaintiff and the Class purchased Block’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       33.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Block, their control over, and/or

receipt and/or modification of Block’s allegedly materially misleading misstatements and/or their


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associations with the Company which made them privy to confidential proprietary information

concerning Block, participated in the fraudulent scheme alleged herein.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE

                         (FRAUD-ON-THE-MARKET DOCTRINE)

       34.     The market for Block’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Block’s securities traded at artificially inflated prices during the Class Period. On

November 4, 2021, the Company’s share price closed at a Class Period high of $247.46 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of Block’s securities and market information relating

to Block, and have been damaged thereby.

       35.     During the Class Period, the artificial inflation of Block’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint causing the damages

sustained by Plaintiff and other members of the Class. As described herein, during the Class

Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Block’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Block and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       36.     At all relevant times, the market for Block’s securities was an efficient market for

the following reasons, among others:


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               (a)     Block shares met the requirements for listing, and was listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)     As a regulated issuer, Block filed periodic public reports with the SEC

and/or the NYSE;

               (c)     Block regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the

national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     Block was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       37.     As a result of the foregoing, the market for Block’s securities promptly digested

current information regarding Block from all publicly available sources and reflected such

information in Block’s share price. Under these circumstances, all purchasers of Block’s securities

during the Class Period suffered similar injury through their purchase of Block’s securities at

artificially inflated prices and a presumption of reliance applies.

       38.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to




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recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                        NO SAFE HARBOR

        39.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Block

who knew that the statement was false when made.

                                          FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and

                                 Rule 10b-5 Promulgated Thereunder

                                       Against All Defendants

        40.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.


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       41.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Block’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

       42.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Block’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       43.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Block’s financial

well-being and prospects, as specified herein.

       44.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Block’s value and performance and

continued substantial growth, which included the making of, or the participation in the making of,

untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Block and its business operations and future prospects in light of




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the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       45.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       46.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Block’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have




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actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       47.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Block’s

securities was artificially inflated during the Class Period. In ignorance of the fact that market

prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in

which the securities trades, and/or in the absence of material adverse information that was known

to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

during the Class Period, Plaintiff and the other members of the Class acquired Block’s securities

during the Class Period at artificially high prices and were damaged thereby.

       48.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Block was experiencing, which were not disclosed by Defendants, Plaintiff and other members

of the Class would not have purchased or otherwise acquired their Block securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices which they paid.

       49.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.




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        50.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act

                                Against the Individual Defendants

        51.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        52.     Individual Defendants acted as controlling persons of Block within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false financial statements filed by the Company with the

SEC and disseminated to the investing public, Individual Defendants had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

        53.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.




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       54.     As set forth above, Block and Individual Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: October 11, 2022                       By: s/ Gregory B. Linkh
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                                              -and-



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